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AO 245B       (Rev. 09/I1) Judgment in a Criminal Case
vi            Sheet



                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                  V.

                  BRADFORD LAMAR DALEY                                              Case Number: 3:13cr105-01-WKW

                                                                                    USM Number: 14756-002

                                                                                     Jeffery Duffey, Susan James
                                                                                    Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to count(s)          1 and 23 of the Indictment on 01/14/2014
U pleaded 11010 contendere 10 count(s)
  which was accepted by the court.                 --
U was found guilty on count(s)
  after a plea of not guilty.                            --

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended            Count

 18:1349                           Conspiracy to Commit Mail Fraud and Wire Fraud                             2/28/2011                1

 26:7206(1)                        Tax Fraud                                                                  2/28/2011               23




L See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
U The defendant has been found not guilty on count(s)
   Count(s) 2-22 and 24                                       U is   dare dismissed oil the motion of the United States.

         It is ordered that the defendant trust notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           4/9/2015
                                                                            Date of Imposition of Judgment




                                                                            Signature of udge


                                                                           W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                            Name of Jud ge                           Title of Judge




                                                                            4e
                                                                           Da t
                     Case 3:13-cr-00105-WKW-CSC Document 128 Filed 04/15/15 Page 2 of 7


AO 245R           (Rev. 09/1 1) Judgment in a Criminal Case
vi                Sheet 2—Imprisonment

                                                                                                                           Judgment Page: 2 of 7
     DEFENDANT: BRADFORD LAMAR DALEY
     CASE NUMBER: 3:13cr105-01-WKW


                                                                        IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      121 Months. This term consists of 121 months as to count 1 and 36 months as to Count 23 to run concurrently.




           Vf The court makes the following recommendations to the Bureau of Prisons:

         The Court recommends that defendant be designated to a facility where alcohol treatment is available.




               The defendant is remanded to the custody of the United States Marshal.

           U The defendant shall surrender to the United States Marshal for this district:

               U at                                           U a. m.     U p.m.          on

               U as notified by the United States Marshal.

           U The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               U before                    on

               U as notified by the United States Marshal.

               U as notified by the Probation or Pretrial Services Office.



                                                                             RETURN
     I have executed this judgment as follows:




               Defendant delivered on                                                               to

     a                                                           with a certified copy of this judgment.



                                                                                                              UNITED STATES MARSHAL



                                                                                     By
                                                                                                           DEPUTY UNITED STATES MARSHAL
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AO 245B           (Rev. 09/11) Judgment in a Criminal Case
vi                Sheet 3—Supervised Release


 DEFENDANT: BRADFORD LAMAR DALEY                                                                                            Judgment Page: 3 of 7
 CASE NUMBER: 3:13cr105-01-WKW
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years. This term consists of 3 years on Count 1 and 1 year on Count 23 to run concurrently.


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 Li The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
    future substance abuse. (Check, fapplicable.)

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, applicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, fapplicable.)

   The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, elseq.)
 L as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
   works, is a student, or was convicted of a qualifying offense. 'Check, fapplicable)

 Li The defendant shall participate in an approved program for domestic violence. (Check, fapplicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with thc standard conditions that hwe been adopted by this court as well as with any, additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcerrent officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
            permission of the court; and

     13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendants compliance with such notification requirement.
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AO 245B        (Rev. 09/I1) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release


 DEFENDANT: BRADFORD LAMAR DALEY                                                                            Judgment Page: 4 of 7

 CASE NUMBER: 3:13cr105-01-WKW


                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall attend and successfully complete an alcohol treatment program approved by the U.S. Probation Office.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AU 245B      (Rev. 09/I1) Judgment in a Criminal Case
V1           Sheet 5—Criminal Monetary Penalties

                                                                                                                    Judgment Page: 5 of 7
 DEFENDANT: BRADFORD LAMAR DALEY
 CASE NUMBER: 3:13cr105-01-WKW
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                        Fine                                Restitution
 TOTALS           $ 200.00                                         $                                   $


     The determination of restitution is deferred until 7/10/2015        An Amended Judgment in a Criminal Case (40 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the fbllowing payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                    Total Loss*              Restitution Ordered Priority or Percenta2e




TOTALS                                                                            $0.00                     $0.00



E    Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     E the interest requirement is waived for the          0 fine fl restitution.

     D the interest requirement for the           E fine     E restitution is modified as follows:


* Findings for the total anDunt of losses are required under Chaers 109A, 110, 110A, and 113A of Title 18 foroffenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B       (Rev. 09/I1) Judgment in a Criminal Case
VI            Sheet 6— Schedule of Payments

                                                                                                                            Judgment Page: 6of7
 DEFENDANT: BRADFORD LAMAR DALEY
 CASE NUMBER: 3:13cr105-01-WKW


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    V Lump sum payment of S 200.00                            due immediately, balance due (*) determination of restitution deferred

           F    not later than                                      , or
           F in accordance fl C, fl D, fl                             E , or fl F below; or

 B    fl Payment to begin immediately, (may, be combined with                fl C,        0 D, or         F below); or

 C    fl Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    fl Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     fl Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. The determination of restitution is deferred until 07/10/2015.




Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crininal monetary penalties is due during
imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (Including dejèndant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




E The defendant shall pay the cost of prosecution.

E The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant's interest in the following property to the United States:
      (SEE PAGE 7)



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B      (Rev. 09/11) Judgment in a Criminal Case
vi           Sheet 6B - Schedule of Payments


DEFENDANT: BRADFORD LAMAR DALEY                                                                       Judgment Page: 7 of 7
CASENUMBER: 3:13cr105-01-WKW

                                            ADDITIONAL FORFEITED PROPERTY
     JUDGMENT -

     (a) Money Judgment in the amount of $5,873,521.00


     REAL PROPERTY -


     (b) Proceeds from interlocutory sale of real property located at 108 Bimini Court, Panama City Beach, Bay County,
         Florida (assessors parcel no. 38333-050-168).


     PERSONAL PROPERTY -

     (c) Proceeds from interlocutory sale of 2008 Ford SRW Super F250 Pick-up truck, bearing vehicle identification number
         1 FTSW21 R68ED92044

     (d) $287,874.51 in funds seized from Columbus Community Bank account ending xxxx2479 in the name of Bradford
         L. Daley DBS Court Mediation Services

     (e) $10,100.00 in funds seized from Phenix-Girard Bank account ending xxxx7217 in the name of Forrest B. Daley and
         Bradford Daley

     (f) $15,060.46 in funds seized from Phenix-Girard Bank account ending in xxxx5271 in the name of Bradford L. Daley
         DBA Court Mediation Services

     (g) $70,096.32 proceeds from sale of United Parcel Service (UPS) franchise store number 4371, located at 103 Ingersol
         Street, Building 103, Main Post Mini Mall, Fort Bennirig, Georgia 31905

     (h) $5,700.66 proceeds from sale of United Parcel Service (UPS) franchise store number 6116, located at 6361 Talokas
         Lane, Suite C140, Coumbus, Georgia (formerly located at 9220 Marne Road Main Exchange on Fort Benning
        Army Base).
